                Case 1:24-mc-91041 Document 1 Filed 02/01/24 Page 1 of 7




                            UNITED STATES DISTRICT COURT

                             DISTRICT OF MASSACHUSETTS


In re CASSAVA SCIENCES, INC.               )   Originating No. 1:21-cv-00751-DAE (W.D.
SECURITIES LITIGATION                      )   Tex.)
                                           )
                                           )   CLASS ACTION
This Document Relates To:                  )
                                           )   PLAINTIFFS’ MOTION TO COMPEL THE
         ALL ACTIONS.                      )   PRODUCTION OF DOCUMENTS
                                           )




4877-2878-9919.v2
                Case 1:24-mc-91041 Document 1 Filed 02/01/24 Page 2 of 7




         PLEASE TAKE NOTICE that lead plaintiff Mohammad Bozorgi and additional plaintiffs

Ken Calderone and Manohar Rao (collectively, “Plaintiffs”), hereby move this Court for an order

compelling the production of documents in compliance with their document subpoena served on

non-party Quanterix Corp. located in this District.

         This motion is based upon the accompanying memorandum of law in support thereof, the

declaration of Kevin A. Lavelle, and such other evidence and argument as the Court may consider.

                                 REQUEST FOR ORAL ARGUMENT

         Plaintiffs respectfully request oral argument pursuant to Local Rule 7.1(d) of the United

States District Court for the District of Massachusetts. Plaintiffs believe that oral argument will

assist the Court’s consideration of this motion, and they would appreciate the opportunity for

counsel to address any issues raised by, or questions posed by, the Court.

 DATED: February 1, 2024                      HUTCHINGS BARSAMIAN
                                                MANDELCORN, LLP
                                              THEODORE M. HESS-MAHAN (BBO
                                              #557109)


                                                         s/ Theodore M. Hess-Mahan
                                                       THEODORE M. HESS-MAHAN

                                              110 Cedar Street, Suite 250
                                              Wellesley Hills, MA 02481
                                              Telephone: 781/431-2231
                                              thess-mahan@hutchingsbarsamian.com

                                              Local Counsel for Lead Plaintiff and Additional
                                              Plaintiff Ken Calderone




                                               -1-
4877-2878-9919.v2
                Case 1:24-mc-91041 Document 1 Filed 02/01/24 Page 3 of 7




                                         ROBBINS GELLER RUDMAN
                                           & DOWD LLP
                                         DANIEL S. DROSMAN
                                         RACHEL JENSEN
                                         KEVIN A. LAVELLE
                                         MEGAN A. ROSSI
                                         HEATHER GEIGER
                                         655 West Broadway, Suite 1900
                                         San Diego, CA 92101
                                         Telephone: 619/231-1058
                                         619/231-7423 (fax)
                                         dand@rgrdlaw.com
                                         rachelj@rgrdlaw.com
                                         klavelle@rgrdlaw.com
                                         mrossi@rgrdlaw.com
                                         hgeiger@rgrdlaw.com

                                         Lead Counsel for Lead Plaintiff and Additional
                                         Plaintiff Ken Calderone

                                         GLANCY PRONGAY & MURRAY LLP
                                         CHARLES H. LINEHAN
                                         1925 Century Park East, Suite 2100
                                         Los Angeles, CA 90067
                                         Telephone: 310/201-9150
                                         310/201-9160 (fax)
                                         clinehan@glancylaw.com

                                         Counsel for Additional Plaintiff Manohar K. Rao




                                          -2-
4877-2878-9919.v2
                Case 1:24-mc-91041 Document 1 Filed 02/01/24 Page 4 of 7




              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(A)(2)

        I hereby certify that on January 11, 2024, Plaintiffs’ counsel conferred with Quanterix’s’
counsel regarding the Motion to Impound, and on January 12, 2024, Quanterix informed
Plaintiffs that the documents at issue should be subject to the Motion to Impound.

                                                     /s/Theodore M. Hess-Mahan
                                                     Theodore M. Hess-Mahan




                                               -3-
4877-2878-9919.v2
            Case 1:24-mc-91041 Document 1 Filed 02/01/24 Page 5 of 7




                                 CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on February 1, 2024, I authorized the

electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system

which will send notification of such filing to the email addresses on the attached Electronic Mail

Notice List, and I hereby certify that I caused the mailing of the foregoing via the United States

Postal Service to the non-CM/ECF participants indicated on the attached Manual Notice List.

                                              s/ Theodore M. Hess-Mahan
                                              THEODORE M. HESS-MAHAN (BBO #557109)

                                              HUTCHINGS BARSAMIAN
                                                     MANDELCORN, LLP
                                              110 Cedar Street, Suite 250
                                              Wellesley Hills, MA 02481
                                              Telephone: 781/431-2231

                                              Email: thess-mahan@hutchingsbarsamian.com
                Case 1:24-mc-91041 Document 1 Filed 02/01/24 Page 6 of 7




                               DECLARATION OF SERVICE

         I, Theodore M. Hess-Mahan, not a party to the within action hereby declare that on

February 1, 2024, I caused to be served the foregoing document by email on the parties to the

within action, addressed as follows:

COUNSEL FOR PLAINTIFFS:

 NAME                         FIRM                         EMAIL
 Daniel S. Drosman            Robbins Geller Rudman        dand@rgrdlaw.com
 Kevin A. Lavelle              & Dowd                      klavelle@rgrdlaw.com
 Megan A. Rossi               655 West Broadway            mrossi@rgrdlaw.com
 Rachel Jensen                Suite 1900                   rachelj@rgrdlaw.com
 Heather Geiger               San Diego, CA 92101          hgeiger@rgrdlaw.com
 Jeremy Daniels               Telephone: 619/231-1058      jdaniels@rgrdlaw.com
                              Fax: 619/231-7423
 Joe Kendall                  Kendall Law Group, PLLC      jkendall@kendalllawgroup.com
                              3811 Turtle Creek Blvd.
                              Suite 1450
                              Dallas, TX 75219
                              Telephone: 214/744-3000
                              Fax: 214/744-3015
 Charles H. Linehan           Glancy Prongay & Murray      clinehan@glancylaw.com
                              LLP
                              Century Park East
                              Suite 2100
                              Los Angeles, CA 90067
                              Telephone: 310/201-9150
                              Fax: 310/201-9160
 Sammy Ford, IV               Ahmad, Zavitsanos &          sford@azalaw.com
                              Mensing, PLLC
                              1221 McKinney St.
                              Suite 2500
                              Houston, TX 77010
                              Telephone: 713/655-1101
                              Fax: 713-655-0062




4864-2475-9398.v2
                Case 1:24-mc-91041 Document 1 Filed 02/01/24 Page 7 of 7




COUNSEL FOR DEFENDANTS:

 NAME                         FIRM                           EMAIL
 James N. Kramer              Orrick, Herrington &           jkramer@orrick.com
 Alexander K. Talarides       Sutcliffe LLP                  atalarides@orrick.com
                              405 Howard Street
                              San Francisco, CA 94105
                              Telephone: 415/773-5700
                              Fax: 415/773-5759
 Claudia Wilson Frost         Orrick, Herrington &           cfrost@orrick.com
                              Sutcliffe LLP
                              609 Main
                              40th Floor
                              Houston, TX 77002
                              Telephone: 713/658-6400
                              Fax: 713/658-6401
 William J. Foley             Orrick, Herrington &           wfoley@orrick.com
                              Sutcliffe LLP
                              51 West 52nd Street
                              New York, NY 10019
                              Telephone: 212/506-5000
                              Fax: 212/506.5151

 Adam B. Miller               Orrick, Herrington &           adam.miller@orrick.com
 Sloan Renfro                 Sutcliffe LLP                  srenfro@orrick.com
 Jennifer Cygnor              2001 M Street NW               jcygnor@orrick.com
                              Suite 500
                              Washington, DC 20036
                              Telephone: 202/349-8000
                              Fax: 202-349-8080

COUNSEL FOR QUANTERIX CORP.:

 NAME                         FIRM                           EMAIL
 Katherine Galle              Mintz, Levin, Cohn, Ferris,    kngalle@mintz.com
                              Glovsky and Popeo, P.C.
                              One Financial Center,
                              Boston, MA 02111
                              Telephone: 617/348-1803

         I declare under penalty of perjury that the foregoing is true and correct. Executed on

February 1, 2024, at Wellesley Hills, Massachusetts.

                                                         s/ Theodore M. Hess-Mahan
                                                       THEODORE M. HESS-MAHAN

4864-2475-9398.v2
